 

 

oO Case 3:10-cv-0238 Document 1 Filed 11/22/10 '@ 1 of 31 PagelD 1

pet

wa

UNITED STATES DISTRICT COURT

mt GIN AL | NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

 

 

KATHY GUERRA, Derivatively on behalf of
EXCO RESOURCES, INC.,

Plaintiff,

Vv.

DOUGLAS H. MILLER, STEPHEN F. Sri, OcVv2 3& ¥2385- - Q

SMITH, JEFFREY D. BENJAMIN,

VINCENT J. CEBULA, EARL E. ELLIS, B.
JAMES FORD, MARK MULHERN, T.
BOONE PICKENS, JEFFREY S. SEROTA,
ROBERT L. STILLWELL, OAKTREE
CAPITAL MANAGEMENT, L.P., and ARES
MANAGEMENT, LLC,

Defendants.
and

EXCO RESOURCES, INC., A Texas
Corporation,

Nominal Defendant JURY TRIAL DEMANDED

 

 

SHAREHOLDER DERIVATIVE COMPLAINT
FOR BREACH OF FIDUCIARY DUTY

Plaintiff Kathy Guerra, for her Derivative Complaint for Breach of Fiduciary Duty,
alleges upon personal knowledge as to herself and her own acts, and upon information and belief
derived from, inter alia, a review of documents filed with the Securities Exchange Commission
(“SEC”) and publicly available news sources, such as newspaper articles, as to all other matters,
as follows:

1. This is a shareholder derivative action brought by plaintiff on behalf of nominal

defendant Exco Resources, Inc. (““Exco” or the “Company”) to enjoin both the process by which

 

 
Case 3:10-cv-0238 Document 1 Filed 11/22/10 ‘@ 2 of 31 PagelD 2

interested directors are determining whether a management led buyout of the Company is fair
and, ultimately, the proposed acquisition of the publicly owned shares of Exco common stock,
itself, by the Company’s Chairman and Chief Executive Officer Douglas H. Miller (“Miller”),
together with Oaktree Capital Management, L.P. (“Oaktree”), Ares Management LLC (“Ares”),
and T. Boone Pickens (“Pickens”) in a management led buyout (the “Proposed Buyout”).

2. By virtue of self-interestedness that has infected both the Proposed Buyout and
the process by which the members of Exco’s Board of Directors are considering whether to
accept it, defendants have breached their fiduciary duties of loyalty to Exco and its shareholders
in violation of Exco’s own Code of Conduct and Texas law. Pursuant to Texas law, therefore, an
independent, disinterested party should be appointed to consider whether the process for
considering the Proposed Buyout and the Proposed Buyout itself are fair to Exco.

3. Alternatively, in the event that the Proposed Buyout is consummated, plaintiff
seeks to recover damages caused by the breach of fiduciary duties owed by the Individual
Defendants (as defined below). The Proposed Buyout and the acts of the Individual Defendants,
as more particularly alleged herein, constitute a breach of defendants’ fiduciary duties to the
Company and its public shareholders and are a violation of applicable legal standards governing
the defendants’ conduct.

4, Plaintiff has made demand upon the Board of Directors of Exco to reconstitute the
process by which the Board of Directors was assessing the Proposed Buyout because of the
interestedness of one of the two members of the Special Committee they formed. The Board of
Directors responded to that demand, exclaiming that the compromised Special Committee would

determine whether its member was independent. Thus, defendants have improperly put the fox

in charge of the hen-house.

 
Case 3:10-cv-0238 Document 1 Filed 11/22/10 '@ 3 of 31 PagelD 3

JURISDICTION AND VENUE

5. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1332(a), (c),
and (d) as Plaintiff and the defendants are citizens of and domiciled in different states and the
amount in controversy exceeds $75,000 exclusive of interest and costs. This action is not a
collusive one to confer jurisdiction on this Court.

6. Venue is proper in this Court pursuant to 28 U.S.C. §1391 because one or more of
the defendants, including Exco, either resides in or maintains executive offices in this District,
and a substantial portion of the transactions and wrongs that are the subject of this complaint,
occurred in substantial part in this District. Finally, the defendants have received substantial
compensation in this District by doing business here and engaging in numerous activities that
had an effect in this District.

THE PARTIES

7. Plaintiff Kathy Guerra is and was, at all times relevant hereto, a holder of Exco
common stock. Plaintiff is a citizen of New Jersey.

8. Nominal Defendant Exco is a Texas corporation with its headquarters located at
12377 Merit Drive, Suite 1700, Dallas, Texas 75251. Exco is an oil and natural gas exploration,
exploitation, development and production company, with principal operations in East Texas,
North Louisiana, Appalachia and West Texas. Exco common stock is traded on the New York
Stock Exchange under the symbol “XCO.” Exco is a citizen of Texas.

9. Defendant Douglas H. Miller (“Miller”) has been a director of the Company,
Chairman of the Board of Directors and Chief Executive Officer since December 1997. Mr.
Miller was Chairman of the Board of Directors and Chief Executive Officer of Coda Energy,

Inc., or Coda, an independent oil and natural gas company, from October 1989 until November

1997 and served as a director of Coda from 1987 until November 1997. As of October 29, 2010,

 

 
Case 3:10-cv-0238@ Document 1 Filed 11/22/10 @ 4 of 31 PagelD 4

Miller beneficially owned 6,572,308 shares of Exco common stock including options to acquire
2,005,000 shares of Exco common stock, or 3.1% of the Company’s outstanding stock. Miller
is a citizen of Dallas, Texas.

10. Defendant Stephen F. Smith (“Smith”) has been a director of the Company and
Vice Chairman of the Board since June 2004. Smith was appointed President and Secretary in
October 2005, and served as Secretary until April 2006. Smith began serving as Chief Financial
Officer in June 2009. Smith was previously a director of the Company from March 1998 to July
2003. As of July 22, 2010, Smith beneficially owned 430,220 shares of Exco common stock.
Smith is a citizen of Dallas, Texas.

11. Defendant Jeffrey D. Benjamin (“Benjamin”) has been a director of the Company
since October 2005 and was previously a director of the Company from August 1998 through
July 2003 and a director of Exco’s parent holding company from July 2003 through its merger
into Exco. Since June 2008, Benjamin has been a Senior Advisor to Cyrus Capital Partners, LP.
From September 2002 until June 2008, Benjamin was a Senior Advisor to Apollo Management,
LP. Benjamin is a citizen of New York, New York.

12. Defendant Vincent J. Cebula has been a director of the Company since March 30,
2007. Cebula previously served as a director of Exco Resources and Exco Holdings Inc. from
July 2003 until October 2005. Cebula is a Managing Director of Jefferies Capital Partners, a
private equity investment firm. Prior to joining Jefferies in November 2007, Cebula was a
Managing Director of defendant Oaktree Capital Management, L.P., a global investment firm,

and its predecessor where he was a founding member of Oaktree’s Principal Opportunities Funds

since 1994. Cebula is a citizen of New York, New York.

 

 
Case 3:10-cv-0238@ Document 1 Filed 11/22/10 @ 5 of 31 PagelD5

13. Defendant Earl E. Ellis (“Ellis”) has been a director of the Company since
October 2005 and was previously a director of the Company from March 1998 through July
2003. Ellis served as a director of Coda from 1992 until 1996, while defendant Miller was
Chairman of the Coda Board. As of October 1, 2010, Ellis beneficially owned 571,306 shares of
Exco common stock. Ellis is a citizen of Pinehurst, North Carolina.

14. Defendant B. James Ford (“Ford”) has been a director of the Company since
December 1, 2007. Ford is a Managing Director of Oaktree where he has worked since 1996.
Ford is a co-portfolio manager of Oaktree’s Principal Opportunities Funds, which invest in
controlling and minority positions in private and public companies. Ford is a citizen of Pacific
Palisades, California.

15. Defendant Mark Mulhern (“Mulhern”) has been a director of the Company since
February 1, 2010. As of October 1, 2010, Mulhern owned 472,330 shares of Exco common
stock. Mulhern is a citizen of Apex, North Carolina.

16. Defendant T. Boone Pickens (“Pickens”) has been a director of the Company
since October 2005 and was previously a director of the Company from March 1998 through
July 2003. Pickens is also Chairman and Chief Executive Officer of BP Capital LP. As of
October 29, 2010, Pickens owned 10,648,100 of Exco common stock, or 5.0% of the Company’s
outstanding shares. Pickens is a citizen of Pampa, Texas.

17. Defendant Jeffrey S. Serota (“Serota”) has been a director of the Company since
March 30, 2007. Serota previously served as a director of Exco Resources and Exco Holdings
from July 2003 until October 2005. Serota has served as a Senior Partner of defendant Ares
Management LLC, an alternative asset investment firm, since September 1997. Serota is a

citizen of Manhattan Beach, California.

 

 
Case 3:10-cv-0238 Document 1 Filed 11/22/10 @ 6 of 31 PagelD 6

18. Defendant Robert L. Stillwell (“Stilwell”) has been a director of the Company
since October 2005. Stillwell has served as the General Counsel of BP Capital LP, Mesa Water,
Inc. and affiliated companies engaged in the petroleum business since 2001. Stillwell is also
Vice President and Treasurer for the T. Boone Pickens Foundation. Stillwell is a citizen of
Dallas, Texas.

19. Defendants Miller, Smith, Benjamin, Cebula, Ellis, Ford, Mulhern, Pickens,
Serota and Stulwell are referred to herein collectively as the “Individual Defendants.”

20. Defendant Oaktree Capital Management, L.P. (“Oaktree”), is a Delaware limited
partnership and is a global alternative and non-traditional investment manager with $75 billion in
assets under management as of June 30, 2010. As of October 29, 2010, Oaktree, through its
affiliated entities, owned 34,778,946 shares of Exco common stock, or 16.4% of the Company’s
outstanding shares. Oaktree’s global headquarters are located at 333 South Grand Ave., 28th
Floor, Los Angeles, CA 90071.

21. Defendant Ares Management LLC (“Ares”), is a Delaware limited liability
company and is a private equity firm specializing in managing assets in both the private equity
and leveraged finance markets. Ares headquarters are located at 2000 Avenue of the Stars, 12th
floor, Los Angeles, CA 90067. As of October 29, 2010, Ares, through its affiliated entities,
owned 12,946,537 shares of Exco common stock, or 6.1% of the Company’s outstanding shares.
Defendants Oaktree and Ares are named herein as aiders and abettors to the breaches of fiduciary
duty described herein.

22. Defendants Miller, Pickens, Oaktree, and Aresare collectively referred to herein
as the “Management Buyout Group.” The Management Buyout Group, through their affiliated

entities and persons collectively own approximately 30.2% of the outstanding shares of Exco
Case 3:10-cv-0238@ Document 1 Filed 11/22/10 @ 7 of 31 PagelD 7

common stock, including the shares that may be acquired upon exercise of such options held by
such persons.

THE INDIVIDUAL DEFENDANTS’ FIDUCIARY DUTIES

23. By reason of the above Individual Defendants' positions with the Company as
directors and/or officers, said individuals are in a fiduciary relationship with the Company and
the public stockholders of Exco who are being and will be harmed by the defendants’ actions
described herein and owe the Company and its public shareholders a duty of highest good faith,
fair dealing, loyalty and full and adequate disclosure.

24. Each of the Individual Defendants is required to act in good faith, in the best
interests of Exco and its shareholders and with such care, including reasonable inquiry, as would
be expected of an ordinarily prudent person. In a situation where the directors of a publicly
traded company undertake a transaction that may result in a change in corporate control, the
applicable state law requires the directors to take all steps reasonably required to maximize the
value of the Company and thereby the value shareholders will receive rather than use a change of
control to benefit themselves. To comply with this duty, the directors of a corporation may not
take any action that:

(a) adversely affects the value of the Company;

(b) contractually prohibits them from complying with or carrying out their
fiduciary duties;

(c) discourages or inhibits alternative offers to purchase control of the
corporation or its assets; or

(d) will otherwise adversely affect their duty to search and secure the best

value reasonably available under the circumstances for the Company and its shareholders.

 

 
Case 3:10-cv-0238 Document 1 Filed 11/22/10 ‘@ 8 of 31 PagelD 8

25. In accordance with their duties of loyalty and good faith, the Individual
Defendants, as directors and/or officers of Exco, are obligated under applicable law to refrain
from:

(a) participating in any transaction where the directors’ or officers’ loyalties
are divided;

(b) participating in any transaction where the directors or officers receive, or
are entitled to receive, a personal financial benefit not equally shared by the public shareholders
of the corporation; and/or

(c) enriching themselves unjustly at the expense or to the detriment of the
Company and its public shareholders.

26. In addition, Exco maintains a Code of Business Conduct and Ethics for Directors,
Officers and Employees (“Code of Conduct”). Exco directors know — and by virtue of its
publication of the Code of Conduct on the internet, shareholders expect — that even if an
individual’s private interest “appears to interfere with the interests of the Company as a whole, a
conflict of interest arises. As each of the Individual Defendants knows, “Even the appearance of
a conflict of interest may be as damaging as an actual conflict and should be avoided.”
(Emphasis added). Exco’s Code of Conduct states that “[a] conflict situation can arise when a[].
. . director takes actions or has interests that may make it difficult to perform his or her Company
work objectively and effectively.” Last, in describing general conflicts of interest, the Individual
Defendants know that “a conflict of interest is likely to arise” if they “cause the Company to

engage in business transactions with relatives or friends.”

 

' Having established the conflict rules in the Code of Conduct, Exco allows the Board of Directors to determine
affirmatively that a disclosed relationship is immaterial and not a conflict of interest.

 
Case 3:10-cv-0238@® Document 1 Filed 11/22/10 @ 9of 31 PagelD 9

27. Plaintiff alleges herein that Defendants, separately and together, in connection
with the Proposed Buyout, are knowingly or recklessly violating their fiduciary duties, including
their duties of loyalty, good faith, and independence owed to Exco and its shareholders.
Defendants stand on both sides of the transaction, engaging in self dealing and obtaining for
themselves personal benefits, including personal financial benefits not shared equally by the
Company or its shareholders. As a result of Defendants’ self dealing and divided loyalties,
Defendants are not realizing the full value of the Company in the Proposed Buyout and the

Company’s shareholders will not receive adequate or fair value for their Exco common stock in

the Proposed Buyout.
SUBSTANTIVE ALLEGATIONS
28.  Exco was incorporated in October 1955, and is an independent oil and natural gas

company engaged in the exploration, exploitation, development and production of onshore North
American oil and natural gas properties. The main focus of the Company’s operations are
conducted in key North American oil and natural gas areas including East Texas, North
Louisiana, Appalachia and the Permian oil basin. The Company conducts these oil and gas
producing operations both on a standalone basis and through joint ventures in conjunction with
other companies. In addition to oil and natural gas producing operations, the Company also
owns a 50% interest in a midstream joint venture in the East Texas/North Louisiana area. As of
December 31, 2009, Exco’s Proved Reserves were approximately 1.0 Tcfe, of which 96.5% were
natural gas and 67.1% were Proved Developed Reserves. As of December 31, 2009, the PV-10
and the Standardized Measure of the Company’s Proved Reserves was $747.7 million.

29. Historically, the Company used acquisitions of producing properties with

additional development drilling and workover opportunities and vertical drilling of development

wells in established producing areas as its vehicle for growth. As a result of recent acquisitions,

 

 
 

 

Case 3:10-cv-02385@ Document 1. Filed 11/22/10 PQ of 31 PagelD 10

the Company has now accumulated an inventory of drilling locations and acreage holdings with
significant potential in the Haynesville/Bossier and Marcellus shale resource plays. According
to the Company, this shale potential has allowed the Company to alter its concentration from
workover opportunities and vertical drilling to the exploitation of the shales in question,
primarily through horizontal drilling. The Company has further stated that future acquisitions
will continue to focus on increasing the Company’s shale resource holdings in the East
Texas/North Louisiana and Appalachian areas.

30. Since the shale resource plays are capital intensive and require significant
expenditures for drilling, completing, treating and pipeline take-away capacity, the Company has
entered into joint venture transactions to jointly develop and upstream these assets, and
simultaneously expand Exco’s midstream infrastructure. Through these joint ventures the
Company has been able to enhance its financial flexibility while developing these assets at an
accelerated pace.

31. | Consistent with this strategy of joint venturing the development of assets, in 2009
the Company ramped up the Haynesville shale development by entering a joint venture with BG
Group, of which defendant Pickens is Chairman and CEO and defendant Stillwell is General
Counsel. The Company further began to de-leverage its balance sheet and executed a divestiture
program to allow for increased attention on exploitation of our shale play assets. The closing of
the Company’s upstream and midstream joint venture transactions with BG Group, coupled with
the successful divestiture program, provided Exco with cash to execute the horizontal drilling
program in East Texas/North Louisiana and strategically add to its acreage position, while
simultaneously reducing the Company’s debt by $1.8 billion. In addition to the cash received

from BG Group in connection with the upstream joint venture transaction, BG Group also agreed

10

 
 

Case 3:10-cv-02385@ Document 1. Filed 11/22/10 PQ of 31 PagelD 11

to fund $400 million of capital development attributable to Exco’s 50% interest in the venture, or
the BG Carry, with BG Group paying 75% of Exco’s share of drilling and completion costs in
the Haynesville/Bossier shales until the $400.0 million funding is satisfied, substantially
reducing the costs of exploiting the Haynesville/Bossier shales to the Company.

32. | Commenting on the success of this strategy, on February 23, 2010 defendant
Miller stated:

2009 was a transformational year for EXCO. We achieved everything we set out
to do, starting with our successful drilling program and results in the Haynesville
area, execution of our divestiture program, including our strategic partnership
with BG Group, and the deleveraging of our balance sheet. In Appalachia, we
continued evaluating our Marcellus shale assets and spud our first full length
horizontal well. All of this was accomplished in spite of a very difficult
commodity price environment. Our derivative program provided us with the
ability to execute our plans over a long-term horizon. We have completed our
divestiture program enabling us to focus on our shale assets. We began 2010 with
production of approximately 234 Mmefe per day. This production level represents
a new baseline which we will use to evaluate our future results. Already in 2010,
our net production has increased to a current level in excess of 265 Mmcfe per
day. We have increased our operated horizontal rig count to 13 in the Haynesville
and plan to increase that rig count to at least 14 for the rest of the year. We also
plan to run at least one operated horizontal rig in Appalachia throughout 2010
while we continue our testing and evaluations in that area. We continue to make
significant investments in our people and technology to maximize the value of our
shale assets. With our concentrated portfolio of Haynesville and Marcellus shales,
we are well positioned for significant reserve additions and organic production
growth.

33. Again, in a letter to Exco shareholders on March 23, 2010, defendant Miller
stated, in relevant part:

For EXCO, 2009 was a highly successful year of transformation. Historically,
EXCO based much of its growth on acquisitions. Over the years we assembled
acreage in our core operating areas, two of which turned out to contain what
many believe will be the most prolific natural gas finds in U.S. history—the
Haynesville and Marcellus shale plays. With the tremendous exploration and
development opportunities in these two plays we elected to divest various non-
strategic properties across our portfolio which resulted in our exit from Ohio,
Northwest Pennsylvania, the Rockies, and our Mid-Continent Division, among
others. As a result, using year-end NYMEX strip pricing, we ended 2009 with 1.3
Tefe of proved reserves with significant upside potential consisting of 1.8 Tcfe of

11

 
Case 3:10-cv-02385&% Document 1. Filed 11/22/10 PQ of 31 PagelD 12

probable and possible reserves and 12.8 Tcfe of potential resources. As of
February 2010 we hold approximately 54,000 net acres in the Haynesville play
and approximately 343,000 net acres in the Marcellus play.

We are also very excited about our joint ventures in East Texas/North Louisiana
with BG Group plc, or BG Group. BG Group, which has complementary skills to
EXCO, has supplemented our team with 13 secondees who have experience in
upstream and midstream operations. As part of the joint venture arrangement,
our finding and development costs on deep wells in the joint venture will be
significantly lower going forward with BG Group paying 75% of EXCO’s share
of drilling and completion costs up to $400 million.

EXCO’s focus on financial flexibility was realized through the combination of
asset sales and joint venture proceeds resulting in $2.1 billion of proceeds
which enabled us to reduce our outstanding debt by 60%. This has “right sized”
our balance sheet to better support our drilling program while still providing
capacity under our revolving credit facility for additional acreage purchases and
opportunistic acquisitions of assets in our core areas.

* Oe

Our drilling success in the Haynesville shale has exceeded our expectations. In
February 2010, we had 13 operated horizontal rigs drilling. We have averaged
an initial production rate of 22.8 Mmcf/d in DeSoto Parish, and we plan to
complete 20-30 wells per quarter throughout 2010. Our operations team has
been very successful in reducing the average number of days from spud to rig
release by nearly 50%. We have recently drilled our first full-length lateral
Marcellus shale well in central Pennsylvania and are making preparations to
complete the well. We are very excited about our early Haynesville drilling
results and prospects for the Marcellus shale.

With the significant increase in our production levels in the Haynesville shale, our
marketing team and the midstream team of TGGT Holdings, in which we own a
50% interest, are diligently working to secure sufficient pipeline capacity to meet
our delivery needs both now and in the future. This has led to expansion of our
existing gathering systems in 2009, with additional capacity increases slated for
2010 as well. This will increase the number of market outlets available for our
production which will allow our marketing team to negotiate the best prices
possible for our natural gas. In Pennsylvania and West Virginia, the pipeline
infrastructure is less developed throughout the region. As a result, to ensure there
is sufficient future capacity to meet our production delivery requirements we are
working with major marketing entities to move our gas until firm transportation
capacity is available on the interstate markets.

34. | The Company continued this strategy in 2010, and as reported by defendant

Miller on May 4, 2010:

12

 

 
Case 3:10-cv-02385 Document 1. Filed 11/22/10 Po of 31 PagelD 13

The first quarter of 2010 was another successful and productive quarter for
EXCO. We continued the successful Haynesville and Bossier shale development
in East Texas/North Louisiana, completing 19 additional operated Haynesville
wells with average IP rates over 20 Mmcf per day and completing our first
successful Bossier well. We drilled one horizontal Marcellus well, and have since
completed two horizontal wells with encouraging results. We continued to
expand our acreage positions in the Haynesville and Marcellus plays and also
reached an agreement on the Common acquisition, which will add nearly
15,000 additional net acres to our portfolio.

Our capital spending program is expected to be funded by cash flow, and the new
credit facility provides us with capital to continue adding to our acreage positions
in our shale plays. Since the majority of our acreage is held-by-production, we
also have a tremendous amount of flexibility in our capital program. Our
announced acquisition of Common is a great example. The current economic
environment created an opportunity for us to acquire a significant acreage
position at an attractive price. As a result of our 2009 transactions, we have ample
liquidity to fund this acquisition and, because our legacy assets are being held-by-
production, we have the flexibility to move existing rigs to the Common acreage
without increasing our activity level. We are currently evaluating our drilling
plans for the remainder of 2010 as a result of current commodity prices and in
anticipation of closing the Common acquisition.

35. In accordance with the Company’s strategy to utilize joint ventures to develop
shale assets, on May 10, 2010, the Company announced a new joint venture with BG Group for
the development and operation of Exco’s Appalachian assets located primarily in Pennsylvania
and West Virginia. Under the terms of the joint venture agreement, Exco sold BG Group
membership interests in companies that hold 50% of Exco’s producing and non-producing assets
in Appalachia, and Exco and BG Group agreed to jointly own an operating company that will
continue serving as operator of the properties subject to oversight from a Management Board
with equal representation from Exco and BG Group. In exchange, Exco received total
consideration of $950 million. Further, Exco and BG Group agreed to jointly pursue the
construction and expansion of gathering systems, pipelines and treating and processing facilities

through a newly formed and jointly owned midstream company.

13

 
Case 3:10-cv-02385@ Document 1. Filed 11/22/10 PQ of 31 PagelD 14

36. Defendant Miller again boasted of the success of the Company’s strategy and the
new joint venture stating:
We are very pleased and excited about this new joint venture with BG Group. Our
existing joint venture with BG Group in East Texas/North Louisiana has been a
tremendous success. We share a belief that current market conditions will
continue to provide opportunities to grow our acreage footprint in both of these
areas. We also share a common vision of the importance of midstream and
marketing efforts to fully realize the value of our upstream assets and both believe
the Marcellus will be an infrastructure led play. This transaction is a significant
event for EXCO, both in terms of the ability to aggressively increase the

development of our existing Marcellus assets and pursue additional
opportunities while continuing to strengthen our balance sheet.

37. Following the announcement of this transaction, defendant Miller, or other Exco
executives with Miller’s assent, in presentations to analysts and investors beginning on June 8,
2010, presented a net asset value summary, including its most recent acquisitions, showing a
“Low Case” net asset value for the Company of $25.30 per share and a “High Case” net asset
value per share of $36.20 per share.

38. | One month later, management prepared new materials for analysts and investors
meetings beginning on July 12, 2010 which showed an increase in the Company’s “Low Case”
net asset value scenario to $25.43 per share and the “High Case” net asset value to $36.94 per
share.

39. Noticeably, defendants excised the charts set forth above from the September
analysts and investors presentation materials, most likely because Miller and his group were
already contemplating the Proposed Buyout. Moreover, a subsequent slide labeled “Unmatched
NAV Growth” was also removed from the presentation materials, which as demonstrated below

in July laid out a road map to a net asset value of $50 to $60 by 2014:

 

 

 

 

 

 

2010E® 2014 Target®
Production (Mmcfe/d) 319 900-1,000
Proved Reserves (Tcfe) 1.2 5.0-6.0

 

 

14

 

 
Case 3:10-cv-02385 @ Document 1

Filed 11/22/10 a of 31 PagelD 15

 

 

 

 

 

 

 

 

 

 

2010E® 2014 Target®
EBITDA (Millions) $550 $1,250-$1,600
Cash Flow (Millions) $500 $1,200-$1,550
Capital Expenditures (Millions) $488 $1,100-$1,300
50% of TGGT EBITDA (Millions) | $40 $160
Net Debt (Millions) $550 $500-$800
NAV per Share $25-$35 $50-$60

 

 

(1) Ranges based on the midpoint of 2010 guidance.
(2) 2014 prices based on $5.00-$6.00 natural gas and range of production volumes

40. Such “Unmatched NAV Growth” estimates are based on $5 to $6 natural gas,
which is consistent with where other companies in the industry, such as Chesapeake Energy
Corporation, see prices going over the next couple years, and the Company’s own previously
reported plan of 30% to 40% annual growth for the next five years.

41. Acting for their own benefit and to the detriment of the Company, through this
Proposed Buyout, defendants seek to deprive Exco’s public shareholders of reaping the benefits
of the Company’s “Unmatched NAV Growth,” increasingly positive prospects and future

financial success.

The Proposed Buyout

42. On November 1, 2010, Exco announced that its Chairman and Chief Executive
Officer, defendant Miller, had submitted to the Board of Directors a proposal to purchase all of
the outstanding shares of stock of the Company not already owned by Mr. Miller for a cash
purchase price of $20.50 per share. The press release further stated that Miller had advised the
Company that J.P. Morgan Securities LLC and Goldman, Sachs & Co. are acting as his financial
advisors and Vinson & Elkins LLP is acting as his legal counsel in connection with the Proposed
Buyout.

43. The full text of the proposal letter from defendant Miller setting forth the terms of

the Proposed Buyout is as follows:

15

 
Case 3:10-cv-02385@ Document 1. Filed 11/22/10 PQ of 31 PagelD 16

October 29, 2010

Board of Directors
EXCO Resources, Inc.
12377 Merit Drive, Suite 1700
Dallas, Texas

Gentlemen:

I am pleased to express my interest in acquiring all of the outstanding shares of
common stock of EXCO Resources, Inc. (the “Company”? at a cash purchase
price of $20.50 per share. I have preliminarily discussed this proposal with
Oaktree Capital Management, L.P., on behalf of its funds and accounts under
management, Ares Management LLC, on behalf of one or more of its funds
under management, and Boone Pickens, and each has expressed an interest in
pursuing the acquisition with me.

I believe that $20.50 per share is very compelling and in the best interest of the
Company and its public shareholders and that the shareholders will find this
proposal attractive. This valuation represents a premium of 38% over today’s
closing price of the Company’s common shares. The acquisition would be in the
form of a merger of the Company with a newly-formed acquisition vehicle.

I would continue as Chairman and Chief Executive Officer following the
transaction and expect that the Company’s senior management team would
remain in place. | anticipate continuing to run the business in accordance with
our current practice and maintaining the Company’s valuable employee base,
which we view as one of its most important assets.

I would expect to reinvest a significant portion of my equity ownership as part of
this transaction. The remaining funds necessary to consummate the transaction
would come from senior management, outside investment partners and, as
needed, third party debt financing.

My familiarity with the Company means that I will be in a position to proceed
very quickly with this transaction. I expect that you will establish a special
committee of independent directors to consider this proposal on behalf of the
Company’s public shareholders with guidance from its own legal and financial

advisors. I welcome the opportunity to present this proposal to the special

committee as soon as possible.

I look forward to working with the special committee and its legal and financial
advisors to complete a transaction that is attractive to the Company’s public
shareholders. Should you have any questions, please contact me.

16

 

 
 

Case 3:10-cv-02385@ Document 1. Filed 11/22/10 PQ’ of 31 PagelD 17

Sincerely,

Douglas H. Miller

44. The $20.50 per share offered in the Proposed Buyout is a woefully inadequate
price, and fails to reflect the true value of the Company or its assets. While defendant Miller
claims the consideration offered in the Proposed Buyout represents a premium of 38% over the
closing price of Exco stock immediately before the announcement, in fact it represents a 24%
discount to the Company’s own low case estimate of the value of the net assets of the Company
and an 80% discount to the Company’s high case net asset valuation as recently as July 2010.

45. The consideration is also significantly below analysts’ estimates and price targets.
According to Thomson/First Call, the mean price target established by analysts for Exco
common stock is $21.30, and at least one analyst has a price target of $29.00, or 41% higher than
the consideration offered by the Management Buyout Group. This grossly inadequate
consideration has led at least one reporter to label the transaction a “Takeunder,” rather than a
“Takeover.”

46. The financial unfairness of the Proposed Buyout price is compounded by the
woefully deficient process employed by the Individual Defendants to evaluate the Proposed
Buyout. Notably, on November 4, 2010 the Company Board announced the appointment of a
special committee consisting of defendants Cebula and Mulhern to, among other things, evaluate
and determine the Company’s response to the Proposed Buyout. Defendant Cebula, however, is
a former principal of Oaktree and a founding member of Oaktree’s Principal Opportunities
Funds. Since Oaktree is the Company’s largest shareholder and is a member of the Management
Buyout Group, Cebula — 50% of the special committee -- is subject to a debilitating conflict of

interest with respect to the Proposed Buyout.

17
Case 3:10-cv-02385-@ Document 1 Filed 11/22/10 Pa of 31 PagelD 18

47. In light of the foregoing, the Individual Defendants must, as their fiduciary
obligations require:

(a) undertake an appropriate evaluation of Exco’s worth as a
merger/acquisition candidate;

(b) take all appropriate steps to enhance Exco’s value and attractiveness as a
merger/acquisition candidate;

(c) take all appropriate steps to effectively expose Exco to the marketplace in
an effort to create an active auction for Exco, including but not limited to engaging in arm’s-
length negotiations with the Management Buyout Group and acting independently so that the
interests of Exco and its public shareholders will be protected; and

(d) adequately ensure that no conflicts of interest exist between the Individual
Defendants’ own interests and their fiduciary obligation to maximize both the Company’s value
and stockholder values or, if such conflicts exist, to ensure that all conflicts be resolved in the
best interests of Exco and its public shareholders.

48. Asa result of Individual Defendants’ failure to take such steps, the Company and
its shareholders will be damaged in that the Company will be under-valued, its shareholders will
not receive their proportionate share of the value of the Company’s assets and business and will
be prevented from obtaining a fair price for their common stock.

DERIVATIVE AND DEMAND FUTILITY/WRONGFUL REJECTION OF DEMAND

49. _ Plaintiff brings this action derivatively in the right and for the benefit of Exco to
redress injuries suffered, and to be suffered, by Exco as a direct result of the breaches of
fiduciary duty, as well as the aiding and abetting thereof, by the Defendants. This is not a

collusive action to confer jurisdiction on this Court which it would not otherwise have.

18

 
 

Case 3:10-cv-02385 Document 1. Filed 11/22/10 PQ of 31 PagelD 19

50. Plaintiff will adequately and fairly represent the interests of Exco in enforcing and
prosecuting its rights. Plaintiff is and was an owner of the stock of Exco during all times
relevant to the Individual Defendants’ wrongful course of conduct alleged herein.

51. On November 8, 2010, Plaintiff made a demand pursuant to Tex. Bus. Orgs Act
§21.553. Plaintiff attaches that demand letter hereto as Exhibit A. In the letter, Plaintiff
summarized why the per-share purchase price defendant Miller has proposed is inadequate.

52. In addition, Plaintiff described an impermissible conflict that fatally corrupts the
Special Committee process the Board of Directors has implemented. Plaintiff described that
defendant Cebula is hopelessly conflicted by virtue of his former service as a principal of
Oaktree Capital. In addition to demanding that the Board reject the Proposed Buyout unless and
until Miller and his group’s offer more closely reflects the value of Exco, Plaintiff demanded that
the Board of Directors reconstitute the Special Committee with truly independent directors under
well-settled principles of Texas Law, New York Stock Exchange Rules and Exco’s own Code of
Business Conduct.

53. Still further, Plaintiff demanded that in light of the Board’s collective appointment
of defendant Cebula to the Special Committee that the directors, themselves, were disabled from
considering Plaintiff's demand. Pursuant to Tex. Bus. Orgs. Code §21.554(a)(3), Plaintiff
demanded, therefore, that the Board seek an emergency order appointing a panel of disinterested
persons to consider Plaintiff's demand.

54. On November 15, 2010, Plaintiff received a letter in response to her November 8,
2010, demand. Plaintiff attaches that response hereto as Exhibit B. In that response, the Board
of Directors neither rejects nor accepts Plaintiffs allegations. Rather, after defending their

action with respect to appointing defendant Cebula to the Special Committee, the Board wrote:

19
 

 

Case 3:10-cv-02385-@B Document 1 Filed 11/22/10 Peg of 31 PagelD 20

The Special Committee’s charge includes, among other things, to review and
evaluate the concerns and demands raised in your letter and to take whatever
actions, if any, it deems appropriate in response to your letter.

55. | Thus Defendants have purposefully reposed the judgment about the independence
of the Special Committee in the hands of the very persons whose independence is at issue.

56. By virtue of this refusal to consider Plaintiff's demand except to allow the
conflicted party to render judgment on his own conflict, the Board has violated Tex. Bus. Orgs.
Code §21.554(a) by not determining how to proceed with respect to Plaintiff's demand as
required by the statute.

57. Defendants’ violation of the letter and spirit of §21.554 of the Tex. Bus. Orgs.
Code creates an intractable situation that requires immediate action. Pursuant to subsection
(a)(3), a panel of one or more independent and disinterested persons should be appointed
immediately to consider Plaintiff's demand. Without this, the Special Committee process and
the merger process as a whole will be fatally flawed. As such, irreparable injury to the
corporation and its shareholders will result by waiting for the expiration of the 90-day waiting
period.

REASONABLE DOUBT EXISTS THAT THE EXCO BOARD IS
ENTITLED TO THE BUSINESS JUDGMENT PROTECTION

58. For the reasons set forth herein, a reasonable doubt exists that the Board’s
appointment of the Special Committee, and approval and/or acquiescence to the Proposed
Buyout was the product of a valid exercise of business judgment.

59. The Individual Defendants served on Committees that were to provide them and,

therefore, the shareholders, with valuable information regarding the activities of the Company.

20

 
 

Case 3:10-cv-02385-@Document 1 Filed 11/22/10 Pag of 31 PagelD 21

60. As part of their fiduciary duties, the Individual Defendants had an obligation to
inform themselves, prior to making a business decision, of all material information reasonably
available to them.

61. Accordingly, the Individual Defendants, as of the filing of this complaint, faced a
substantial likelihood of liability of an action asserting the claims alleged herein, thus disabling
the Board from being capable of making a disinterested, independent decision about whether to
prosecute this action. Therefore, demand on the Board, although made, was futile in retrospect.

COUNT I

Claim for Breach of Fiduciary Duties
Against the Individual Defendants

62. Plaintiff repeats and realleges each allegation set forth herein.

63. The Individual Defendants have violated fiduciary duties of care, loyalty, candor
and good faith owed to Exco and its public shareholders.

64. The Individual Defendants have appointed defendant Cebula — an interested
director with strong ties to defendant Oaktree as a former principal thereof — to the Special
Committee. By virtue of the other director defendants appointing him and his agreeing to serve
on the Special Committee, defendants have breached their duty of loyalty by charging a person
with significant ties to Oaktree to determine whether and at what price Oaktree can participate in
the purchase of Exco. That appointment taints the entire process of a disinterested vetting of the
Proposed Buyout and violates the duty of loyalty the Individual Defendants owe to Exco.

65. In addition, the Proposed Buyout is a means by which those involved in the
buyout group are entrenching themselves at the expense of Exco and its public shareholders.
Defendants Miller, Smith, Ford, Serota, and Pickens are members of the Management Buyout

Group and stand on both sides of the Proposed Buyout. They will derive a person profit and

21

 

 
 

Case 3:10-cv-02385-@Document 1 Filed 11/22/10 Pag of 31 PagelD 22

advantage by reason of their current positions with Exco that is distinct from the Company’s
current shareholders. Given their interest, the fairness of the Proposed Buyout must be strictly
scrutinized with defendants bearing the burden of showing that the transaction is fair to the
corporation and that it carries the earmark of an arms-length bargain.

66. By the acts, transactions and courses of conduct alleged herein, the Individual
Defendants, individually and acting as a part of a common plan, are attempting to consummate
the Proposed Buyout and thereby assure the continuation of the positions and compensation with
the Company, even though the consideration offered in the Proposed Buyout is grossly
inadequate and was arrived at through an unfair process to the injury of Exco and its public
shareholders.

67. As demonstrated by the allegations above, the Individual Defendants failed to
exercise the care required, and breached their duties of loyalty, good faith, candor and
independence owed to Exco and its public shareholders because, among other reasons, they
failed to take steps to maximize the value of Exco to its public shareholders and failed to appoint
an independent special committee to evaluate the Proposed Buyout, and thereby favored their
own, or their fellow directors’ or executive officers’ interests to secure all possible benefits for
the Management Buyout Group, rather than protect the best interests of Exco and its public
shareholders.

68. The Individual Defendants dominate and control the business and corporate
affairs of Exco, and are in possession of private corporate information concerning Exco’s assets,
business and future prospects. Thus, there exists an imbalance and disparity of knowledge and
economic power between them and the public shareholders of Exco which makes it inherently

unfair for them to benefit their own interests to the exclusion of maximizing shareholder value.

22

 

 
Case 3:10-cv-02385-@Pocument 1 Filed 11/22/10 rag: of 31 PagelD 23

69. By reason of the foregoing acts, practices and course of conduct, the Individual
Defendants have failed to exercise ordinary care and diligence in the exercise of their fiduciary
obligations toward Exco and its public shareholders.

70. As a result of the actions of the Individual Defendants, Exco and its public
shareholders will suffer irreparable injury in that shareholders have not and will not receive their
fair portion of the value of Exco’s assets and businesses and have been and will be prevented
from obtaining a fair price for their common stock.

71. Unless Defendants are enjoined by the Court, they will continue to breach their
fiduciary duties owed to Exco and its public shareholders, all to the irreparable harm of the
Company.

72. — Plaintiff, on behalf of nominal defendant Exco, has no adequate remedy at law.
Only through the exercise of this Court’s equitable powers can Exco and its public shareholders
be fully protected from the immediate and irreparable injury which the Individual Defendants’
actions threaten to inflict.

COUNT II

Claim Against Oaktree and Ares for Aiding and Abetting
the Individual Defendants’ Breaches of Fiduciary Duties

73. Plaintiff repeats and realleges each and every allegation set forth herein.

74. The Individual Defendants breached their fiduciary duties to Exco and the Exco
shareholders by the actions alleged supra.

75. Such breaches of fiduciary duties could not, and would not, have occurred but for
the conduct of defendants Oaktree and Ares, which, therefore, aided and abetted such breaches

through entering into the Proposed Buyout.

23

 

 
 

Case 3:10-cv-02385-@§Pocument 1 Filed 11/22/10 rag of 31 PagelD 24

76. Defendants Oaktree and Ares had knowledge that they were aiding and abetting
the Individual Defendants’ breaches of fiduciary duties to Exco and its shareholders.

77. Defendants Oaktree and Ares rendered substantial assistance to the Individual
Defendants in their breaches of their fiduciary duties to Exco and its shareholders.

78. As aresult of defendants Oaktree and Ares’ conduct of aiding and abetting the
Individual Defendants’ breaches of fiduciary duties, the Company and its shareholders have
been, and will be, damaged in that they have been, and will be, prevented from obtaining the fair
value of the Company and its assets.

79. Asa result of the unlawful actions of Oaktree and Ares, the Company and its
shareholders will be irreparably harmed in that they will be prevented from obtaining the fair
value of the Company and its assets. Unless enjoined by the Court, Oaktree and Ares will
continue to aid and abet the Individual Defendants’ breaches of their fiduciary duties owed to the
Company and its shareholders, and will aid and abet a process that inhibits the maximization of
shareholder value and the disclosure of material information.

80. | The Company and its shareholders have no adequate remedy at law. Only
through the exercise of this Court’s equitable powers can Plaintiff and the other Exco
shareholders be fully protected from immediate and irreparable injury which Defendants’ actions
threaten to inflict.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,
including injunctive relief, in her favor and against the Defendants as follows:

A. Declaring that this action is properly maintainable as a derivative action and

declaring plaintiff to be an adequate representative of the Company;

24

 
Case 3:10-cv-02385-@Pocument 1 Filed 11/22/10 Pag of 31 PagelD 25

B. Declaring that the conduct of the Individual Defendants in approving the
Proposed Buyout and failing to make reasonable efforts to maximize the value of the Company
and its assets and other acts and omissions set forth herein are breaches of the Individual
Defendants’ fiduciary duties;

C. Preliminarily and permanently enjoining the Individual Defendants and all
persons acting in concert with them from taking any steps to consummate the Proposed Buyout
on the terms presently proposed;

D. Preliminarily and permanently enjoining the Individual Defendants from initiating
any defensive measures that would inhibit the Individual Defendants’ ability to maximize value
for Exco shareholders;

E. Pursuant to Tex. Bus. Orgs. Code §21.554(a)(3), appointing a panel of one or
more independent and disinterested persons qualified to make the determinations contemplated
in §21.558 of the Code;

F, To the extent the Proposed Buyout is consummated prior to this Court’s entry of a
final judgment, rescinding it and setting it aside or awarding rescissory damages;

G. Awarding compensatory damages against defendants, individually and severally,
in an amount to be determined at trial, together with pre-judgment and post-judgment interest at
the maximum rate allowable by law;

H. Awarding Plaintiff the costs, expenses, and disbursements of this action,
including attorneys’ and experts’ fees and, if applicable, pre-judgment and post-judgment
interest; and

I. Awarding such other and further relief as this Court deems just, equitable, and

proper.

25

 

 
 

Case 3:10-cv-02385-@Document 1 Filed 11/22/10 rags of 31 PagelD 26

Dated: November 22, 2010

OF COUNSEL:

FARUQI & FARUQI, LLP
Jacob A. Goldberg

Sandra G. Smith

101 Greenwood Avenue, Suite 600
Jenkintown, PA 19046

Tel: 215-277-5770

Fax: 215-277-5771

Email: jgoldberg@farugilaw.com

and

Anthony Vozzolo

369 Lexington Ave., 10th Floor
New York, NY 10017

Tel: 212-983-9330

Fax: 212-983-9331

By: Lo LLL.

Roger F. Claxton

State Bar No. 0432900
10,000 North Central Expressway
Suite 725
Dallas, TX 75231
Tel: 214-969-9029
Fax: 214-953-0583

Email: roger@claxtonlaw.com

26

 

 
Case 3:10-cv-02385-@¥Pocument 1 Filed 11/22/10 rag’ of 31 PagelD 27

FARUQI & FARUQI, LLP

ATTORNEYS AT LAW

101 GREENWOOD AVENUE, SUITE 600
JENKINTOWN, PA 19046

(215) 277-6770 TELECOPIER: (215) 277-577!

WEBSITE: www.farugilaw.com

November 8, 2010

Douglas H. Miller, Chairman
Stephen F. Smith, Vice Chairman
Mr. Jeffrey D. Benjamin

Mr. Vincent J. Cebula

Mr. Earl E. Ellis

Mr. B. James Ford

Mr, Mark Mulhern ,
Mr. T. Boone Pickens

Mr. Jeffrey S. Serota

Mr. Robert L. Stillwell

c/o Exco Resources, Inc.

12377 Merit Drive, Suite 1700
Dallas, Texas 75251

Re: Shareholder Demand Relating to Management
Led Buyout of Exco Resources, Inc.

Members of the Board of Exco Resources, Inc.:

We write on behalf of Kathy Guerra a current shareholder of Exco Resources, Inc.
(“Exco” or the “Company’”’). Ms, Guerra has been a shareholder at least as of November 1,
2010, the date the Company announced that Douglas H. Miller (“Miller”) had launched a
management led bid to acquire all of the outstanding shares of Exco (“Management Buyout”).
We write, pursuant to Tex Bus. Orgs, Code §21.553, demanding that Exco take certain actions
detailed below in response to the Management Buyout.

On October 29, 2010, Mr. Miller launched his bid to take Exco private, communicating to
you, the Exco Board, his offer to purchase all of the Company’s outstanding common stock for
$20.50 per share. He disclosed several potential partners in pursuing the Management Buyout,
including Oaktree Capital Management, L.P. He also disclosed both his intention to remain as
Exco’s Chairman and CEO and his expectation that the Company’s senior management would
continue in place, following the execution of the Management Buyout.

In his October 29, 2010 letter to you, Mr. Miller touted the consideration he and his
partners offered as a 38% premium over Exco’s common stock price on the day before he made
his offer. The $20.50 per share offered, however, is woefully inadequate, failing materially to
reflect the true value of the Company or its assets. The price offered represents a 24% discount

EXHIBIT A

 

 

 
 

Case 3:10-cv-02385-@Pocument 1 Filed 11/22/10 Pa@: of 31 PagelD 28

FARUQI & FARUQI, LLP

The Board of Directors, Exco Resources, Inc.
November 8, 2010
Page — 2 —

to the Company’s own low case estimate of the value of the net assets of the Company and an
80% discount to the Company’s own high case net asset valuation as recently as July, 2010.
Moreover, as recently as April 9, 2010, Exco common stock was trading as high as $21.34, or
4% higher than the consideration Mr. Miller and his partners have offered.

The consideration is also significantly below analysts’ estimates and price targets.
According to Thomson/First Call the mean price target established by analysts for Exco common
stock is $21.30, and at least one analyst has a price target of $29.00, or 41% higher than the
consideration offered by the Management Buyout group. This grossly inadequate consideration
has led at least one reporter to label the transaction a “Takeunder,” rather than a “Takeover.” As
such, Ms. Guerra demands that you reject the Management Buyout until the consideration Mr.
Miller and his group offer more closely reflects the value of the publicly traded shares of Exco.

In addition, the Company has announced that you, the Board, have appointed Messrs.
Cebula and Mulhern as the two members of the Special Committee. You have charged the
Special Committee with evaluating the Management Buyout and determining the Company’s
response. Mr. Cebula, however, is a former principal of Oaktree Capital. Not only is Oaktree
Capital Exco’s single largest shareholder, with beneficial ownership of 16.4% of Exco’s
common stock as of April 29, 2010, but Mr. Miller has proposed it as one of his financial
partners in the Management Buyout. You were aware of this information before you appointed
Mr. Cebula to serve on the Special Committee. By virtue of these circumstances, Mr. Cebula is
hopelessly conflicted and may neither participate in the analysis of the Management Buyout nor
recommend whether the Board should vote to approve it. According to your own Code of
Business Conduct and Ethics For Directors, Officers and Employees (“Code of Business
Conduct’) “[e]ven the appearance of a conflict of interest may be as damaging as an actual
conflict and should be avoided.” The process the Board has used to determine whether to accept
Mr. Miller’s Management Buyout, therefore, is fatally flawed and must not stand. Ms, Guerra
demands, therefore, that you reconstitute the Special Committee with truly independent directors
under well-settled principles of Texas law, New York Stock Exchange Rules and Exco’s own
Code of Business Conduct,

More, in light of your collective appointment of Mr. Cebula to the Special Committee
with knowledge of his debilitating conflict, Ms. Guerra believes that each of you is disabled from
considering this demand. As such, Ms. Guerra demands, pursuant to Tex. Bus. Orgs. Code §
21554(a)(3), that you immediately move a Texas court for an emergency order for appointment
of a panel of one or more independent and disinterested persons to consider this demand. If you
take this step and agree to halt the fatally flawed Special Committee process you have
commenced, Ms. Guerra will consider extending the time for you to answer this demand.

 

 

 
Case 3:10-cv-02385-@pocument 1 Filed 11/22/10 Page of 31 PagelD 29

FARUQI & FARUQI, LLP

The Board of Directors, Exco Resources, Inc.
November 8, 2010
Page —3 —

In light of the quick pace at which Mr. Miller intends to complete his proposed
Management Buyout, time is of the essence. The failure of the Board to act on this demand will
cause irreparable harm to Exco and its public shareholders. As such, we ask that you inform us
of your determination with respect to this demand no later than Monday, November 15, 2010. If
you ignore or reject this demand, Ms. Guerra will immediately pursue a derivative action on
Exco’s behalf against you and others.

We look forward to hearing from you.

Yours Sincerely,

 

ce: CT Corporation System (via Federal Express)
350 North Saint Paul Street
Dallas, TX 75201

Thomas W. Christopher, Esquire (via Federal Express)
Kirkland & Ellis LLP

601 Lexington Avenue

New York, NY 10022

Lyle G. Ganske, Esquire (via Federal Express)
Jones Day

901 Lakeside Avenue

Cleveland, OH 44114-1190

Vinson & Elkins (via Federal Express)
2001 Ross Avenue
Dallas, TX 75201-2975

 

 

 
11/15/2@ase 6:10-cv-92A@54@Document 1 Filegixad (eed Papo ofs1 PageliBae eas 02

EXCO Resources, Inc.

i: C Ti 12377 Merit Drive » Suite 1700 « Dallas, Texas 75251
Phone (214) 368-2084 « Fax (972) 367-3559

November 15, 2010
Via Facsimile and U.S. Mail

Jacob A. Goldberg, Esq.

Farugi & Faruqi, LLP

101 Greenwood Avenue, Suite 600
Jenkintown, PA 19046

Re: EXCO Resources, Inc.
Dear Mr. Goldberg:

I write in response to your November 8 letter addressed to EXCO Resources, Inc.'s
Board of Directors regarding the recently announced proposal by the Company’s Chairman and
CEO, Douglas Miller, to purchase all outstanding shares of EXCO stock (the “Proposal”). As
your letter acknowledges, the Company recently announced that it has formed a Special
Committee of outside, independent and disinterested directors to consider, among other things,
the Proposal. With regard to your concern about Mr. Cebula’s participation on the Special]
Committee, I can assure you that the Board carefully considered all relevant factors with respect
to the appointments of Mr. Cebula and Mr. Mulhern, including Mr. Cebula’s past employment
' with Oaktree Capital Management, L.P., and determined that neither member of the Special
Committee has an interest that would interfere with his exercise of independent business
judgment with respect to the Proposal or any of the other matters within its mandate,

The Special Committee’s charge includes, among other things, to review and evaluate the
" concems and demands raised in your letter and to take whatever actions, if any, it deems
appropriate in response to your letter. Your letter has been forwarded to the Special
Committee’s counsel, Thamias Christopher, at Kirkland & Ellis LLP, 601 Lexington Avenue,
New York, NY 10022. For your reference, the Company’s outside counsel is Thad Behrens, at
Haynes and Boone, LLP, 2323 Victory Avenue, Suite 700, Dallas, Texas 75219,

Very truly yours,

han Bors

William L. Boeing
Vice President and General Counsel

 

EXHIBIT B

 

 
®JS 44 (Rev. 3/@Base 3:10-cv-02385-@@poGinai COVER SHEDT Pag: of af daub GaN A i

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Kathy Guerra Derivatively on behalf Douglas H. Miller, Stephen F. Smith, Jeffrey D. Benjamin, Vincent J. Cebula,
of EXCO Resources, Inc. Earl E. Ellis, B. James Ford, Mark Mulhern, T. Boone Pickens, Jeffrey

S. Serota, Robert L. Stillwell, Oaktreet Capital Management, and Ares
Management, LLC
County of Residence of First Listed Defendant
(IN U.S. PLAINTIFE
NOTE: INLAND COQ)

(b) County of Residence of First Listed Plaintiff New Jersey
(EXCEPT IN U.S. PLAINTIFF CASES) Y)

LOCATION OF THE

   
 
 
 

 

KnoWn)

 
   
 

om Goreys

(c) Attorney’s (Firm Name, Address, and Telephone Number) . 63 ’ 5
Roger F. Claxton u 2 3 8

x
10000 N. Central Expressway, eae] 0 U

Dallas, Texas7523 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

214-969-9029 id St ALY
ep eek. US. Fac
II. BASIS OF JURISDICTION (Place an “x” in One Box Only) Il. CITIZENSHIP O RREN TIES (lace an “X” in One Box for Plaintiff
(For Diversity Cases Only and One Box for Defendant)
PTF DEF PTF DEF
0 1 US. Government x 3 Federal Question Citizen of This State O 1 1 Incorporated or Principal Place O 4 04
Plaintiff (U.S. Government Not a Party) of Business In This State
O 2 U.S. Government O 4 Diversity Citizen of Another State O 2 O12 Incorporated and Principal Place O 5 O15
Defendant (Indicate Citizenship of Parties of Business In Another State
in Item II)
Citizen or Subjectofa O13 03 Foreign Nation 0H6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
O 110 Insurance PERSONAL INJURY PERSONAL INJURY |C) 610 Agriculture [422 Appeal 28 USC 158 O 400 State Reapportionment
O 120 Marine O 310 Airplane O 362 Personal Injury— 1 620 Other Food & Drug O 410 Antitrust
O 130 Miller Act O 315 Airplane Product Med. Malpractice (1 625 Drug Related Seizure | 423 Withdrawal O 430 Banks and Banking
O 140 Negotiable Instrument Liability (] 365 Personal Injury — of Property 21 USC 28 USC 157 OC) 450 Commerce/ICC Rates/etc.
O 150 Recovery of Overpayment] 320 Assault, Libel & Product Liability O 630 Liquor Laws O 460 Deportation
& Enforcement of Judgment Slander O 368 Asbestos Personal O 640RR. & Truck PROPERTY RIGHTS O 470 Racketeer Influenced and
O 151 Medicare Act O 330 Federal Employers’ Injury Product 1 650 Airline Regs. : Corrupt Organizations
yury 8 £820 Copyrights PI
O 152 Recovery of Defaulted Liability Liability 0 660 Occupational Oe Pym O 810 Selective Service
Student Loans 1 340 Marine PERSONAL PROPERTY Safety/Health 30 Patent 850 Securities/Commodities/
(Excl. Veterans) 0) +345 Marine Product O 370 Other Fraud O 690 Other C840 Trademark Exchange
O} 153 Recovery of Overpayment Liability O 371 Truth in Lending O 875 Customer Challenge
of Veteran’s Benefits O 350 Motor Vehicle O 380 Other Personal LABOR SOCIAL SECURITY 12 USC 3410
160 Stockholders’ Suits (1 355 Motor Vehicle Property Damage . 1 891 Agricultural Acts
O 190 Other Contract Product Liability O1 385 Property Damage xO 710 aw Labor Standards re nal Lane 2923) O 892 Economic Stabilization Act
O 195 Contract Product Liability | 360 Other Personal Injury Product Liability C1 720 Labor/Mgmt. Relations| £863 DIWC/DIWW (405(g)) 5 tod Energy Allocation Act
REAL PROPERTY CIVIL RIGHTS __| PRISONER PETITIONS __ | B64 SSID Title XVI 11 895 Freedom of
Ol 730 Labor/Mgmt.Reporting| [865 RSI (405(g)) Information Act
O 210 Land Condemnation C) 441 Voting 1 510 Motions to Vacate & Disclosure Act (1 900 Appeal of Fee
O 220 Foreclosure © 442 Employment Sentence QO 740 Railway Labor Act FEDERAL TAX SUITS Ppéal or
LH 230R : : Determination Under Equal
ent Lease & Ejectment | 443 Housing/ Habeas Corpus: ae :
. ce ath (870 Taxes (U.S. Plaintiff Access to Justice
O 240 Torts to Land Accommodations O 530 General OQ 790 Other Labor Litigation Defendant) C1 950 Constitutionality of
C1 245 Tort Product Liability |0 444 Welfare 1 535 Death Penalty orwe State Stutytes
O 290 All Other Real Property [( 440 Other Civil Rights |O1 540 Mandamus &Othr JO 791 Empl. Ret. Inc. [B71 IRS—Third Party 890 Other Statutory Actions
O 550 Civil Rights Security Act 26 USC 7609
0) 555 Prison Condition
PLACE AN “X” IN ONE BOX ONLY ctr
V. ORIGIN ( ) Transferred from Appeal to District
. another district ; Mavis trate
x | Original O 2 Removed from O13 Remanded from O 4 Reinstated or O 5 (specify) O16 Multidistrict O 7 Tu ae s ent
Proceeding State Court Appellate Court Reopened Litigation gm

 

(Cite the U.S. Civil Statute under which you are filing and write brief statement of cause.
VI. CAUSE OF ACTION Do not cite jurisdictional statutes unless diversity.)

Breach of Fiduciary Duties

 

VII. REQUESTED IN

CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: x Yes No
VIII. RELATED CASE(S) ft sctions):
IF ANY JUDGE ja DOCKET NUMBER
DATE , , AA OF ATTORNEY OF JA,
FOR Laz, , ce ° a a C =
RECEIPT # AMOUN APPLYING IFP JUDGE MAG. JUDGE

 
